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                                      EXHIBIT A

    (Detailed Description, by Project Category, of Services Rendered During Fee Period)




166675408v1
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FEES FOR PROFESSIONAL SERVICES RENDERED THROUGH 12/31/23

Date       Tkpr                  Task       Description of Work Performed                            Hours   Amount
                                 Activity
11/17/23   D Kovsky-Apap         B191       Telephone call with S. McNally re potential                0.3    252.00
                                            indemnification issues and status of settlement
                                            discussions
12/01/23   D Kovsky-Apap         B320       Correspondence with Huron team re revised waterfall        0.2    168.00


12/01/23   D Kovsky-Apap         B320       Participate in call with Huron team and F. Lawall re       0.6    504.00
                                            waterfall and general unsecured claims reserve
12/01/23   D Kovsky-Apap         B320       Review revised estimated waterfall from the debtors        0.4    336.00


12/01/23   D Kovsky-Apap         B310       Correspondence with SEC attorneys re call to               0.1     84.00
                                            discuss claim
12/01/23   D Kovsky-Apap         B191       Review Foxconn's reply in support of motion to             0.5    420.00
                                            dismiss
12/01/23   D Kovsky-Apap         B320       Review liquidation analysis comparison from Huron          0.2    168.00
                                            team
12/01/23   D Kovsky-Apap         B320       Review draft plan supplement                               0.5    420.00


12/01/23   D Kovsky-Apap         B320       Conference with F. Lawall re plan supplement and           0.2    168.00
                                            response to debtors
12/01/23   D Kovsky-Apap         B320       Correspondence with debtors' counsel and F. Lawall         0.2    168.00
                                            re plan supplement
12/01/23   D Kovsky-Apap         B320       Correspondence with creditor re question about plan        0.2    168.00


12/01/23   F Lawall              B320       Review litigation options in light of reserve issues       0.5    625.00


12/01/23   F Lawall              B320       Emails with debtor re claims reserve                       0.4    500.00


12/01/23   F Lawall              B320       Call with Huron team re reserve issues and waterfall       0.6    750.00


12/01/23   F Lawall              B320       Review plan support documents                              0.3    375.00


12/01/23   F Lawall              B320       Review multiple waterfall iterations                       0.4    500.00
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                                 Activity


12/01/23   M Molitor             B110       Update critical dates calendar                            0.3    117.00


12/01/23   M Molitor             B165       Prepare CNO re Huron 1st interim fee application          0.3    117.00


12/01/23   M Molitor             B150       Email from S. Henry re Committee meeting                  0.1     39.00


12/01/23   M Molitor             B160       Prepare respective CNOs re TPHS 3rd monthly and           0.6    234.00
                                            1st interim fee applications
12/02/23   F Lawall              B320       Review update on waterfall from Huron and go              0.5    625.00
                                            forward issues
12/04/23   D Kovsky-Apap         B310       Telephone conference with SEC attorneys and F.            0.6    504.00
                                            Lawall re SEC's potential claim
12/04/23   D Kovsky-Apap         B320       Further conference with T. Remington re confirmation      0.3    252.00
                                            objection
12/04/23   D Kovsky-Apap         B320       Telephone conference with F. Lawall and T.                0.6    504.00
                                            Remington re objection to confirmation based on
                                            inadequate GUC reserve
12/04/23   D Kovsky-Apap         B320       Correspondence with F. Lawall and Huron team re           0.2    168.00
                                            exhibit needed for confirmation objection
12/04/23   F Lawall              B310       Call with SEC re claim information                        0.6    750.00


12/04/23   F Lawall              B320       Emails with Huron re exhibits to waterfall                0.3    375.00


12/04/23   F Lawall              B320       Review plan objection issues with D. Kovsky and T.        0.6    750.00
                                            Remington
12/04/23   M Molitor             B110       Update critical dates calendar                            0.1     39.00


12/04/23   M Molitor             B160       Exchanges with D. Kovsky-Apap, F. Lawall, D.              0.3    117.00
                                            Fournier, T. Remington re respective CNOs re TPHS
                                            3rd monthly and 1st interim fee applications
12/04/23   M Molitor             B165       Review docket re responses to Huron 1st interim fee       0.3    117.00
                                            application and email exchanges with D. Kovsky-
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Date       Tkpr                  Task       Description of Work Performed                             Hours   Amount
                                 Activity
                                            Apap, F. Lawall, D. Fournier, T. Remington, Huron
                                            team re CNO re Huron 1st interim fee application
12/04/23   M Molitor             B165       Update TPHS cumulative fee and expense status               0.5    195.00
                                            chart
12/04/23   T Remington           B320       Call with D. Kovsky and F. Lawall re: plan objection        0.6    402.00


12/04/23   T Remington           B320       Review solicited plan, disclosure statement and plan        2.4   1,608.00
                                            supplement
12/04/23   T Remington           B320       Research re: plan objection                                 1.9   1,273.00


12/04/23   T Remington           B320       Emails with D. Kovsky re: plan objection                    0.2    134.00


12/04/23   T Remington           B113       Review 11/17 - 12/3 filings                                 1.6   1,072.00


12/04/23   T Remington           B320       Begin drafting plan objection                               1.3    871.00


12/04/23   T Remington           B320       Further conference with D. Kovsky re confirmation           0.3    201.00
                                            objection
12/05/23   D Kovsky-Apap         B160       Revise draft fee statement                                  0.4    336.00


12/05/23   D Kovsky-Apap         B320       Correspondence with debtors' counsel re proposed            0.2    168.00
                                            revised indemnification language in plan
12/05/23   D Kovsky-Apap         B320       Multiple emails with F. Lawall and debtors' counsel re      0.3    252.00
                                            indemnification provisions
12/05/23   D Kovsky-Apap         B185       Correspondence with debtors' counsel re motion to           0.1     84.00
                                            assume contracts
12/05/23   D Kovsky-Apap         B185       Telephone conference with F. Lawall re debtors'             0.2    168.00
                                            motion to assume contracts
12/05/23   D Kovsky-Apap         B185       Receive and review debtors' draft motion to assume          0.3    252.00
                                            contracts
12/05/23   F Lawall              B320       Review reserve issues update                                0.2    250.00
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Date       Tkpr                  Task       Description of Work Performed                             Hours   Amount
                                 Activity
12/05/23   F Lawall              B320       Review plan amendments                                      0.5    625.00


12/05/23   F Lawall              B185       Emails with debtor re contract amendments and               0.4    500.00
                                            impacts on indemnification
12/05/23   F Lawall              B185       Review assumption of contract notice with D. Kovsky         0.2    250.00


12/05/23   F Lawall              B185       Review contract assumption list                             0.2    250.00


12/05/23   M Molitor             B110       Update critical dates calendar                              0.2     78.00


12/05/23   M Molitor             B160       Email exchanges with T. Remington re respective             0.7    273.00
                                            CNOs re TPHS 3rd monthly and 1st interim fee
                                            applications and finalize, file and serve respective
                                            CNOs re TPHS 3rd monthly and 1st interim fee
                                            applications application
12/05/23   M Molitor             B160       Update TPHS 5th monthly fee application                     0.3    117.00


12/05/23   M Molitor             B165       Email exchange with D. Kovsky-Apap, F. Lawall, and          0.6    234.00
                                            T. Remington re omnibus order re 1st interim fee
                                            applications (.1), email exchanges with T. Remington
                                            re CNO re Huron 1st interim fee application (.2),
                                            finalize, file and serve CNO re Huron 1st interim fee
                                            application (.3)
12/05/23   T Remington           B310       Review J. Merritt's letter re: objection to claims          0.2    134.00


12/05/23   T Remington           B110       Review WIP                                                  0.2    134.00


12/05/23   T Remington           B320       Review proposed revised confirmation order and              0.9    603.00
                                            redline of same
12/05/23   T Remington           B160       Review and revise CNO re: TPHS 3rd monthly fee              0.1     67.00
                                            application and email M. Molitor re same
12/05/23   T Remington           B165       Review and revise CNO re: Huron 1st interim fee             0.1     67.00
                                            application and email M. Molitor re same
12/05/23   T Remington           B320       Review notice of plan supplement                            0.7    469.00
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Date       Tkpr                  Task       Description of Work Performed                            Hours   Amount
                                 Activity


12/05/23   T Remington           B160       Review CNO re: TPHS 1st interim fee application            0.1     67.00
                                            and email M. Molitor re same
12/06/23   D Kovsky-Apap         B310       Correspondence with R. Loh and F. Lawall re revised        0.1     84.00
                                            analysis of claims
12/06/23   D Kovsky-Apap         B310       Conference with F. Lawall and Huron team re further        0.3    252.00
                                            analysis of claims
12/06/23   D Kovsky-Apap         B310       Review notice of claim purportedly transferred by          0.1     84.00
                                            SEC lawyer and email D. Baddley re same
12/06/23   D Kovsky-Apap         B191       Review Foxconn's request for oral argument                 0.1     84.00


12/06/23   D Kovsky-Apap         B190       Draft email to debtors' counsel re anticipated             0.2    168.00
                                            depositions
12/06/23   D Kovsky-Apap         B110       Conference with M. Molitor re update to critical dates     0.1     84.00
                                            calendar
12/06/23   D Kovsky-Apap         B320       Telephone conference with D. Turetsky re                   0.2    168.00
                                            outstanding issues for confirmation
12/06/23   D Kovsky-Apap         B320       Review trustee's proposed plan revisions                   0.2    168.00


12/06/23   D Kovsky-Apap         B185       Review as-filed motion to assume contracts                 0.2    168.00


12/06/23   D Kovsky-Apap         B320       Telephone conference with D. Turetsky re plan              1.1    924.00
                                            confirmation issues
12/06/23   D Kovsky-Apap         B320       Review revied proposed indemnification language            0.2    168.00
                                            from D&O's counsel
12/06/23   D Kovsky-Apap         B320       Revise draft proposed indemnification language             0.2    168.00


12/06/23   D Kovsky-Apap         B320       Confer with F. Lawall re plan confirmation issues          0.3    252.00


12/06/23   D Kovsky-Apap         B320       Telephone conference with F. Lawall re revised draft       0.2    168.00
                                            of indemnification language
12/06/23   D Kovsky-Apap         B320       Email debtors' counsel re revised draft of                 0.1     84.00
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Date       Tkpr                  Task       Description of Work Performed                            Hours   Amount
                                 Activity
                                            indemnification language
12/06/23   D Kovsky-Apap         B320       Review R. Singh's objection to confirmation                0.2    168.00


12/06/23   D Kovsky-Apap         B160       Correspondence with M. Patterson and M. Molitor re         0.1     84.00
                                            drat omnibus compensation order
12/06/23   F Lawall              B320       Review indemnification language issues and revise          0.5    625.00


12/06/23   F Lawall              B320       Confer with D. Kovsky re plan confirmation issues          0.3    375.00


12/06/23   F Lawall              B310       Call with Huron and D. Kovsky re reserve                   0.3    375.00


12/06/23   F Lawall              B310       Review reserve and claims issues                           0.6    750.00


12/06/23   M Molitor             B185       Obtain and review 1st omnibus motion for                   0.1     39.00
                                            assumption of certain contracts, cure costs re same
                                            re critical dates re same
12/06/23   M Molitor             B165       Draft CNO re Huron 3rd monthly staffing and                0.2     78.00
                                            compensation application
12/06/23   M Molitor             B320       Email exchanges with D. Kovsky-Apap re Committee           0.2     78.00
                                            extended response deadline re confirmation (.1),
                                            update case calendar per same (.1)
12/06/23   M Molitor             B110       Emails to D. Kovsky-Apap, F. Lawall, S. McNally, D.        0.2     78.00
                                            Fournier, T. Remington, S. Henry, J. Kusch, M.
                                            Willey, A. Sima re critical dates calendar, updates to
                                            same
12/06/23   M Molitor             B110       Update critical dates calendar                             0.3    117.00


12/06/23   M Molitor             B170       Email to D. Burke re TPHS 2024 rates re notice of          0.1     39.00
                                            rate change
12/06/23   M Molitor             B160       Email exchanges with D. Kovsky-Apap, F. Lawall, T.         0.5    195.00
                                            Remington re COC, proposed omnibus fee order with
                                            respect to TPHS data, confer with D. Kovsky-Apap
                                            (.2), review TPHS fee status chart, data re omnibus
                                            fee order re calculations, payment pursuant to TPHS
                                            retention order (.3)
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Date       Tkpr                  Task       Description of Work Performed                            Hours   Amount
                                 Activity
12/06/23   M Molitor             B160       Email to T. Remington re TPHS 5th fee application          0.1     39.00


12/06/23   M Molitor             B191       Email exchanges with F. Lawall re Lordstown v. Hon         0.2     78.00
                                            Hai adversary proceeding, defendants' request for
                                            oral argument on motion to dismiss
12/06/23   M Molitor             B310       Email exchanges with F. Lawall re pleading filed by        0.2     78.00
                                            Fiberdyne re allowance of late-filed claim, obtain and
                                            review pleading
12/06/23   M Molitor             B190       Email from T. Remington re respective deposition           0.1     39.00
                                            notices in connection with confirmation, deadline for
                                            filing same
12/06/23   T Remington           B160       Email D. Kovsky re: November fee application               0.1     67.00


12/06/23   T Remington           B160       Review and respond to email from M. Molitor re             0.2    134.00
                                            omnibus fee order
12/06/23   T Remington           B190       Email D. Kovsky and F. Lawall re: depositions              0.3    201.00


12/06/23   T Remington           B320       Email F. Lawall and D. Kovsky re: plan objection           0.1     67.00


12/06/23   T Remington           B320       Further research re: plan objection                        1.1    737.00


12/06/23   T Remington           B320       Further draft plan objection                               3.3   2,211.00


12/07/23   D Kovsky-Apap         B190       Correspondence with J. Zakia re scheduling                 0.1     84.00
                                            depositions
12/07/23   D Kovsky-Apap         B320       Review and respond to debtors' comments on the             0.3    252.00
                                            claims ombudsman agreement
12/07/23   D Kovsky-Apap         B320       Confer with SEC lawyer re confirmation objections          0.1     84.00
                                            and settlement status
12/07/23   D Kovsky-Apap         B320       Review and respond to debtors' counsel re UST's            0.2    168.00
                                            comments on plan
12/07/23   D Kovsky-Apap         B320       Follow up with F. Lawall re changes to                     0.1     84.00
                                            indemnification language
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Date       Tkpr                  Task       Description of Work Performed                           Hours   Amount
                                 Activity
12/07/23   D Kovsky-Apap         B155       Review notice of agenda for December 11 hearing           0.1     84.00


12/07/23   D Kovsky-Apap         B320       Telephone conference with D. Turetsky re changes          0.2    168.00
                                            to indemnification language
12/07/23   D Kovsky-Apap         B190       Confer with T. Remington re deposition notices            0.1     84.00


12/07/23   D Kovsky-Apap         B320       Confer with F. Lawall re D&O's further proposed           0.1     84.00
                                            revisions to indemnification language
12/07/23   D Kovsky-Apap         B130       Review and analyze draft notice of miscellaneous          0.3    252.00
                                            sale of assets to insiders and employees
12/07/23   D Kovsky-Apap         B110       Review revised critical dates calendar                    0.1     84.00


12/07/23   D Kovsky-Apap         B150       Conduct Committee meeting                                 0.5    420.00


12/07/23   D Kovsky-Apap         B150       Correspondence with Huron team in preparation for         0.2    168.00
                                            Committee meeting
12/07/23   F Lawall              B320       Review U.S. Trustee plan comments and debtors'            0.3    375.00
                                            proposed rvisions
12/07/23   F Lawall              B320       Review reserve issues with Huron team                     0.5    625.00


12/07/23   F Lawall              B320       Review revised indemnification claims treatment           0.3    375.00
                                            provisions and email internal team re revisions
12/07/23   F Lawall              B320       Review revised ombudsmen retention and plan               0.7    875.00
                                            provisions
12/07/23   F Lawall              B190       Emails re depositions for confirmation hearing            0.2    250.00


12/07/23   F Lawall              B150       Prepare for (.2) and conduct meeting with committee       0.7    875.00
                                            re plan issues (.5)
12/07/23   M Molitor             B113       Email from T. Remington re 12.12 deadline to              0.1     39.00
                                            respond to various motions and status of each
12/07/23   M Molitor             B320       Email exchanges with F. Lawall re plan, disclosure        0.3    117.00
                                            statement, plan supplement, and obtain pleadings
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Date       Tkpr                  Task       Description of Work Performed                            Hours   Amount
                                 Activity
12/07/23   M Molitor             B190       Email exchanges with D. Kovsky-Apap, F. Lawall, T.         0.9    351.00
                                            Remington re respective notices of deposition re A.
                                            Kroll and C. Tsitsis (.3), prepare respective notices
                                            (.6)
12/07/23   M Molitor             B165       Obtain and review Brown Rudnick 2nd monthly fee            0.2     78.00
                                            application and MP3 3rd monthly fee application re
                                            critical dates calendar
12/07/23   M Molitor             B110       Update critical dates calendar                             0.4    156.00


12/07/23   M Molitor             B190       Email exchanges with T. Remington re respective            0.2     78.00
                                            notices of deposition re confirmation
12/07/23   M Molitor             B150       Email from D. Kovsky-Apap re agenda re 12.7 virtual        0.6    234.00
                                            Committee meeting, attend meeting, review notes
12/07/23   M Molitor             B155       Review 12.11 hearing agenda re status of matters           0.2     78.00
                                            (.1), email to S. Henry, D. Kovsky-Apap, F. Lawall, T.
                                            Remington re status of matters, Zoom registrations
                                            for hearing (.1)
12/07/23   T Remington           B190       Confer with D. Kovsky re deposition notices                0.1     67.00


12/07/23   T Remington           B191       Review SEC's motion to extend dischargeability             0.2    134.00
                                            complaint
12/07/23   T Remington           B110       Review WIP and email F. Lawall and D. Kovsky re:           0.2    134.00
                                            deadlines re: upcoming motions
12/07/23   T Remington           B190       Emails with M. Molitor re: depositions re: Lordstown       0.2    134.00
                                            Motors Corp
12/07/23   T Remington           B185       Review omnibus motion assuming contracts                   0.4    268.00


12/07/23   T Remington           B310       Review first omnibus claims objection                      0.4    268.00


12/07/23   T Remington           B190       Email D. Kovsky and F. Lawall re: depositions              0.1     67.00


12/08/23   S Henry               B190       Prepare e-mail to D. Kovsky re revised notice of           0.1     39.00
                                            deposition of C. Tsitsis
12/08/23   S Henry               B190       File and serve notice of deposition of C. Tsitsis          0.3    117.00
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Date       Tkpr                  Task       Description of Work Performed                             Hours   Amount
                                 Activity


12/08/23   S Henry               B155       Prepare e-mail to F. Lawall, D. Kovsky and T.               0.2     78.00
                                            Remington re notice of amended agenda for
                                            December 11, 2023
12/08/23   S Henry               B155       Prepare e-mail to M. Molitor re registration to appear      0.1     39.00
                                            by Zoom at December 11, 2023 hearing
12/08/23   S Henry               B155       Register F. Lawall, D. Kovsky and T. Remington to           0.1     39.00
                                            appear by Zoom at December 11, 2023 hearing
12/08/23   S Henry               B190       Prepare e-mails to T. Remington re notice of                0.2     78.00
                                            deposition for A. Kroll
12/08/23   S Henry               B190       File notice of deposition of A. Kroll                       0.2     78.00


12/08/23   S Henry               B190       Serve notice of deposition of A. Kroll                      0.3    117.00


12/08/23   S Henry               B190       Prepare e-mails to T. Remington re notice of                0.3    117.00
                                            deposition of C. Tsitsis
12/08/23   S Henry               B190       Telephone call with F. Lawall re information for notice     0.1     39.00
                                            of deposition of C. Tsitsis
12/08/23   S Henry               B190       Revise notice of deposition of C. Tsitsis                   0.2     78.00


12/08/23   S Henry               B190       Analysis of service information for notices of              0.2     78.00
                                            depositions
12/08/23   D Kovsky-Apap         B190       Correspondence with J. Zakia re deposition                  0.1     84.00
                                            scheduling
12/08/23   D Kovsky-Apap         B190       Confer with F. Lawall re deposition of debtors' CFO         0.1     84.00


12/08/23   D Kovsky-Apap         B320       Voicemail from B. Hackman re plan objection                 0.1     84.00


12/08/23   D Kovsky-Apap         B320       Review plan comments from Foxconn                           0.2    168.00


12/08/23   D Kovsky-Apap         B320       Review plan comments from RIDE plaintiff                    0.1     84.00
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Date       Tkpr                  Task       Description of Work Performed                          Hours   Amount
                                 Activity
12/08/23   D Kovsky-Apap         B320       Review and revise draft objection to confirmation        0.5    420.00


12/08/23   D Kovsky-Apap         B320       Confer with F. Lawall re objection to confirmation       0.1     84.00


12/08/23   D Kovsky-Apap         B320       Correspondence with R. J. Szuba re claims                0.1     84.00
                                            ombudsman agreement
12/08/23   D Kovsky-Apap         B320       Correspondence with F. Lawall re claims                  0.1     84.00
                                            ombudsman agreement
12/08/23   D Kovsky-Apap         B191       Telephone conference with J. Zakia re status of SEC      0.2    168.00
                                            and shareholder issues
12/08/23   F Lawall              B320       Revise confirmation objection                            2.0   2,500.00


12/08/23   F Lawall              B320       Review multiple plan revisions and emails re impact      1.0   1,250.00
                                            of changes
12/08/23   T Remington           B320       Review R. Singh's plan objection                         0.2    134.00


12/08/23   T Remington           B190       Emails with D. Kovsky re: debtors' depositions           0.1     67.00


12/08/23   T Remington           B190       Revise notice of Kroll deposition and emails with S.     0.1     67.00
                                            Henry re same
12/08/23   T Remington           B190       Email D. Kovsky and F. Lawall re: pending papers         0.2    134.00


12/08/23   T Remington           B190       Review and revise Tsitis deposition and emails with      0.2    134.00
                                            S. Henry re same
12/08/23   T Remington           B155       Review 12/11 agenda                                      0.1     67.00


12/08/23   T Remington           B130       Review notice of sale of miscellaneous assets            0.3    201.00


12/08/23   T Remington           B175       Review and respond to email from R. Loh re:              0.3    201.00
                                            retention application and notice of increase
12/08/23   T Remington           B175       Review notice of increase and email R. Loh re same       0.2    134.00
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                                 Activity
12/10/23   D Kovsky-Apap         B320       Correspondence with debtors' counsel re discharge          0.2    168.00
                                            issue in plan raised by UST
12/10/23   D Kovsky-Apap         B320       Work on confirmation objection                             4.2   3,528.00


12/10/23   D Kovsky-Apap         B155       Correspondence with F. Lawall and T. Remington re          0.2    168.00
                                            omnibus hearing
12/10/23   T Remington           B155       Email D. Kovsky and F. Lawall re: 12/11 hearing            0.1     67.00


12/11/23   D Fournier            B160       Review and revise COC re TPHS Fee Application              0.1    125.00


12/11/23   S Henry               B112       Telephone call with creditor re information for ballot     0.2     78.00
                                            and on claim objection
12/11/23   S Henry               B112       Review claim and claim objection information for           0.4    156.00
                                            creditor inquiry
12/11/23   S Henry               B112       Discussion with and prepare e-mail to F. Lawall re         0.2     78.00
                                            information for response to creditor inquiry
12/11/23   S Henry               B160       Prepare e-mail to D. Fournier, F. Lawall, D. Kovsky        0.1     39.00
                                            and T. Remington re COC for Troutman interim fee
                                            application
12/11/23   S Henry               B160       File and serve COC for Troutman interim fee                0.5    195.00
                                            application
12/11/23   S Henry               B160       Prepare supplemental COS re Troutman first interim         0.3    117.00
                                            fee application
12/11/23   S Henry               B160       Finalize and prepare COC re interim fee application        0.3    117.00
                                            for upload
12/11/23   S Henry               B160       Prepare COC for Troutman interim fee application for       0.8    312.00
                                            Shannon's chambers
12/11/23   D Kovsky-Apap         B185       Review revised draft order re assumption of contracts      0.1     84.00


12/11/23   D Kovsky-Apap         B185       Correspondence with F. He re revised order on              0.1     84.00
                                            assumption of contracts
12/11/23   D Kovsky-Apap         B320       Follow-up call with F. Lawall re plan objection            0.2    168.00
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                                 Activity
12/11/23   D Kovsky-Apap         B320       Conference call with Huron team re factual support        0.8    672.00
                                            for plan objection
12/11/23   D Kovsky-Apap         B320       Correspondence with T. Remington re plan objection        0.1     84.00
                                            and supporting declaration
12/11/23   D Kovsky-Apap         B320       Follow-up all with F. Lawall re plan objection and        0.1     84.00
                                            strategy
12/11/23   D Kovsky-Apap         B320       Update call with F. Lawall and D. Turetsky re plan        0.4    336.00
                                            issues and confirmation hearing
12/11/23   D Kovsky-Apap         B320       Draft email to D. Turetsky re plan objection              0.1     84.00


12/11/23   D Kovsky-Apap         B320       Telephone conference with SEC counsel re status of        0.2    168.00
                                            SEC claim and potential plan objection
12/11/23   D Kovsky-Apap         B320       Further revise plan objection per discussion with F.      1.1    924.00
                                            Lawall
12/11/23   D Kovsky-Apap         B320       Confer with F. Lawall re plan objection                   0.5    420.00


12/11/23   D Kovsky-Apap         B190       Telephone conference with B. Hackman re                   0.3    252.00
                                            deposition notices and plan objections
12/11/23   D Kovsky-Apap         B155       Participate in omnibus hearing                            0.2    168.00


12/11/23   F Lawall              B320       Call with D. Turetsky and F. Lawall re reserve issues     0.4    500.00
                                            and plan issues
12/11/23   F Lawall              B320       Emails re NHTSA plan language                             0.4    500.00


12/11/23   F Lawall              B320       Review plan confirmation and related claim issues         0.5    625.00
                                            with D. Kovsky
12/11/23   F Lawall              B112       Emails re creditor inquiry and claim disallowance         0.3    375.00


12/11/23   F Lawall              B320       Call with Huron re reserve and confirmation objection     1.0   1,250.00
                                            issues
12/11/23   F Lawall              B320       Email Huron re exhibits for waterfall                     0.1    125.00
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Date       Tkpr                  Task       Description of Work Performed                           Hours   Amount
                                 Activity
12/11/23   F Lawall              B165       Review fee order issues                                   0.3    375.00


12/11/23   T Remington           B320       Review further revised plan objection and redline for     0.4    268.00
                                            same
12/11/23   T Remington           B320       Email F. Lawall and D. Kovsky re: plan objection and      0.1     67.00
                                            supporting declaration
12/11/23   T Remington           B190       Emails with D. Kovsky re: Debtor depositions              0.2    134.00


12/11/23   T Remington           B160       Email revised CoC, order and exhibit re: interim fees     0.1     67.00
                                            to F. Lawall, D. Fournier and D. Kovsky re same
12/11/23   T Remington           B160       Review and revise CoC, order and exhibits re: interim     0.4    268.00
                                            application
12/11/23   T Remington           B160       Emails with S. Henry re: COC re omnibus fee order         0.2    134.00
                                            (re: Judge's chambers)
12/12/23   S Henry               B160       Telephone call with M. Molitor re chambers copy of        0.1     39.00
                                            COC for Troutman interim fee application
12/12/23   S Henry               B160       Prepare e-mails to US Bankruptcy Court re uploading       0.5    195.00
                                            proposed order for Troutman interim fee application
12/12/23   D Kovsky-Apap         B190       Review draft notices of adjournment of depositions        0.1     84.00


12/12/23   D Kovsky-Apap         B190       Correspondence with T. Remington re adjourning            0.1     84.00
                                            depositions
12/12/23   D Kovsky-Apap         B190       Correspondence with D. Turetsky and J. Zakia re           0.2    168.00
                                            depositions
12/12/23   D Kovsky-Apap         B190       Correspondence with D. Turetsky re plan objection         0.2    168.00
                                            and depositions
12/12/23   D Kovsky-Apap         B190       Confer with T. Remington re amended deposition            0.1     84.00
                                            notices
12/12/23   D Kovsky-Apap         B320       Confer with F. Lawall re discharge provision and plan     0.4    336.00
                                            objection
12/12/23   D Kovsky-Apap         B320       Correspondence with D. Detweiler re confirmation          0.2    168.00
                                            hearing
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Date       Tkpr                  Task       Description of Work Performed                            Hours   Amount
                                 Activity
12/12/23   D Kovsky-Apap         B320       Receive and review further analysis from Huron team        0.2    168.00
                                            re rejection damages to be included in unsecured
                                            claims reserve
12/12/23   D Kovsky-Apap         B320       Telephone conference with F. Lawall and R. Loh re          0.4    336.00
                                            claims analysis for plan objection
12/12/23   D Kovsky-Apap         B320       Follow-up discussion with F. Lawall re claims              0.4    336.00
                                            analysis for plan objection
12/12/23   D Kovsky-Apap         B320       Telephone conference and correspondence with D.            0.2    168.00
                                            Turetsky re confirmation hearing
12/12/23   F Lawall              B320       Multiple calls and emails with D. Kovsky re plan           0.8   1,000.00
                                            issues, objection/deposition and confirmation
                                            scheduling
12/12/23   F Lawall              B320       Calls with Huron and D. Kovsky re exhibits/claims for      0.4    500.00
                                            plan objection
12/12/23   F Lawall              B320       Review objection to confirmation                           1.3   1,625.00


12/12/23   F Lawall              B320       Review exhibits and related attachments for plan           0.5    625.00
                                            objection
12/12/23   F Lawall              B155       Calls/emails with D. Detweiler re confirmation hearing     0.3    375.00
                                            scheduling
12/12/23   M Molitor             B170       Revise TPHS notice of hourly rate range adjustments        0.3    117.00


12/12/23   M Molitor             B320       Email exchange with D. Kovsky-Apap re Committee            0.2     78.00
                                            further extension of confirmation deadline to 12.13,
                                            update case calendar per same
12/12/23   M Molitor             B160       Email exchanges with D. Fournier, F. Lawall, D.            0.4    156.00
                                            Kovsky-Apap, T. Remington re CNO re TPHS
                                            October fee application, update CNO
12/12/23   M Molitor             B160       Email from D. Kovsky-Apap re TPHS November                 0.4    156.00
                                            invoice, review invoice, update monthly fee
                                            application
12/12/23   M Molitor             B160       Email exchanges with S. Henry, S. Stiles, confer with      0.3    117.00
                                            S. Henry re COC, order approving TPHS 1st interim
                                            fee application, submission of same to chambers
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Date       Tkpr                  Task       Description of Work Performed                              Hours   Amount
                                 Activity
12/12/23   M Molitor             B110       Review notice of substitution of lead plaintiffs in RIDE     0.1     39.00
                                            Securities Action re service updates, disclosures re
                                            same
12/12/23   M Molitor             B110       Review docket and recently filed pleadings re                0.7    273.00
                                            pending deadlines, hearings re same and update
                                            critical dates calendar for same
12/12/23   M Molitor             B165       Email exchanges with D. Fournier, F. Lawall, D.              0.4    156.00
                                            Kovsky-Apap, T. Remington, Huron team re CNO re
                                            Huron October fee application, update CNO
12/12/23   M Molitor             B190       Email exchanges with T. Remington re respective              0.6    234.00
                                            notices adjourning 30(b)(6) deposition and A. Kroll
                                            deposition, finalize and file notices, email to D.
                                            Kovsky-Apap, F. Lawall, T. Remington re as-filed
                                            notices
12/12/23   M Molitor             B175       Revise Huron notice of hourly rate changes                   0.3    117.00


12/12/23   M Molitor             B175       Emails from R. Loh, T. Remington re Huron notice of          0.2     78.00
                                            2024 rates
12/12/23   T Remington           B320       Review plan and revised waterfall sent by R. Loh             0.4    268.00


12/12/23   T Remington           B320       Review revised plan objection and redline of same            0.5    335.00


12/12/23   T Remington           B320       Review emails from debtors' counsel re: adjournment          0.2    134.00
                                            of confirmation deadlines
12/12/23   T Remington           B320       Emails with D. Kovsky re: declaration in support of          0.1     67.00
                                            plan objection
12/12/23   T Remington           B190       Draft notices of adjournment of Kroll and Tsitsis            0.2    134.00
                                            depositions and emails with D. Kovsky re same
12/13/23   S Henry               B170       Prepare e-mail to M. Molitor re attorney rates               0.1     39.00
                                            information for notice of 2024 hourly rates
12/13/23   S Henry               B160       Revise supplemental COS for COC re Troutman first            0.1     39.00
                                            interim fee application
12/13/23   S Henry               B160       File and serve supplemental COS for COC for interim          0.4    156.00
                                            fee application
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Date       Tkpr                  Task       Description of Work Performed                           Hours   Amount
                                 Activity
12/13/23   S Henry               B160       Prepare e-mail to M. Molitor re payment on latest fee     0.1     39.00
                                            application
12/13/23   S Henry               B150       Prepare e-mail to T. Remington re committee               0.1     39.00
                                            meeting
12/13/23   D Kovsky-Apap         B130       Receive and review notice of sale of miscellaneous        0.2    168.00
                                            assets
12/13/23   D Kovsky-Apap         B110       Correspondence with M. Molitor re updates to critical     0.1     84.00
                                            dates calendars
12/13/23   D Kovsky-Apap         B320       Review Foxconn's proposed revisions to plan               0.3    252.00


12/13/23   D Kovsky-Apap         B160       Confer with T. Remington and M. Molitor re CNOs for       0.1     84.00
                                            fee statements
12/13/23   D Kovsky-Apap         B320       Receive and review preliminary summary of ballot          0.2    168.00
                                            tabulation
12/13/23   D Kovsky-Apap         B320       Correspondence with Debtor's counsel re NHITSA's          0.1     84.00
                                            plan comments
12/13/23   D Kovsky-Apap         B320       Review NHITSA's further comments to plan                  0.2    168.00


12/13/23   D Kovsky-Apap         B320       Correspondence with D. Turetsky re status of              0.2    168.00
                                            discussions with SEC and re plan objection
12/13/23   D Kovsky-Apap         B320       Confer with F. Lawall re plan objection                   0.2    168.00


12/13/23   F Lawall              B320       Review plan objection deadlines and brief status          0.4    500.00


12/13/23   F Lawall              B320       Review plan voting report                                 0.3    375.00


12/13/23   F Lawall              B320       Confer with D. Kovsky re plan objection                   0.2    250.00


12/13/23   F Lawall              B165       Multiple emails to internal team re fee apps              0.2    250.00


12/13/23   M Molitor             B160       Update TPHS November fee application                      0.8    312.00
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Date       Tkpr                  Task       Description of Work Performed                             Hours   Amount
                                 Activity
12/13/23   M Molitor             B160       Email exchanges with T. Remington, D/ Kovsky-               0.4    156.00
                                            Apap, F. Lawall, D. Fournier re CNO re TPHS
                                            October fee application, finalize, file and serve CNO
12/13/23   M Molitor             B165       Email exchanges with T. Remington re CNO re                 0.4    156.00
                                            Huron October fee application, finalize, file and serve
                                            CNO
12/13/23   M Molitor             B320       Email exchanges with D. Kovsky-Apap re Committee            0.2     78.00
                                            further extended confirmation objection deadline to
                                            12.14, update case calendar per same
12/13/23   M Molitor             B110       Update critical dates calendar                              0.3    117.00


12/13/23   M Molitor             B130       Review miscellaneous asset sale notice [DI 814] re          0.1     39.00
                                            critical dates
12/13/23   M Molitor             B170       Email exchanges with D. Kovsky-Apap, F. Lawall, D.          0.6    234.00
                                            Fournier, T. Remington, S. Henry, T. Randall re
                                            TPHS notice of adjusted hourly rate ranges, revise
                                            notice
12/13/23   M Molitor             B175       Email exchanges with T. Remington re Huron notice           0.6    234.00
                                            of hourly rate adjustments, finalize, file and serve
                                            notice
12/13/23   T Remington           B160       Review CNO re: Troutman 4th monthly fee                     0.1     67.00
                                            application and email M. Molitor re same
12/13/23   T Remington           B150       Email S. Henry re: weekly Committee meeting                 0.1     67.00


12/13/23   T Remington           B160       Email M. Molitor re: November fee application               0.1     67.00


12/13/23   T Remington           B165       Review CNO re: Huron 3rd fee application and                0.2    134.00
                                            emails with M. Molitor re same
12/13/23   T Remington           B130       Review notice of 12/13 miscellaneous sale                   0.3    201.00


12/13/23   T Remington           B175       Email R. Loh re: notice of rate increase                    0.1     67.00


12/13/23   T Remington           B175       Review notice of rate increase and email M. Molitor         0.1     67.00
                                            re same
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Date       Tkpr                  Task       Description of Work Performed                            Hours   Amount
                                 Activity
12/14/23   D Kovsky-Apap         B185       Conference with Huron team re debtors'' proposed           0.2    168.00
                                            change to contact cure amount
12/14/23   D Kovsky-Apap         B185       Review revised contract cure schedule                      0.1     84.00


12/14/23   D Kovsky-Apap         B150       Draft plan update to Committee                             0.4    336.00


12/14/23   D Kovsky-Apap         B320       Email from D. Turetsky re status of discussions with       0.1     84.00
                                            SEC
12/14/23   D Kovsky-Apap         B320       Telephone call with D. Turetsky re update on plan          0.3    252.00
                                            issues
12/14/23   M Molitor             B320       Email from D. Kovsky-Apap re status of confirmation,       0.1     39.00
                                            Committee extended response deadline re same,
                                            update case calendar re same
12/14/23   M Molitor             B320       Email from D. Kovsky-Apap re status of confirmation,       0.1     39.00
                                            resolution of SEC claim
12/14/23   M Molitor             B160       Update TPHS November fee application, fee and              0.9    351.00
                                            expense status chart
12/14/23   M Molitor             B160       Email to A. Kroll, D. Tsitsis re CNO re TPHS October       0.1     39.00
                                            fee application, underlying application
12/14/23   M Molitor             B160       Review order granting TPHS 1st interim fee                 0.3    117.00
                                            application, email to chambers re Ex. 1 to order,
                                            email to D. Kovsky-Apap, D. Fournier, F. Lawall, T.
                                            Remington re same
12/14/23   T Remington           B160       Email from M. Molitor re: order awarding first interim     0.1     67.00
                                            fees
12/14/23   T Remington           B110       Review WIP/Critical Dates Calendar                         0.2    134.00


12/14/23   T Remington           B160       Emails with M. Molitor re: November fee application        0.2    134.00


12/14/23   T Remington           B320       Review CoC re: Fiberdyne stipulation                       0.2    134.00


12/15/23   D Kovsky-Apap         B320       Receive and review notice of rescheduled                   0.1     84.00
                                            confirmation hearing
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Date       Tkpr                  Task       Description of Work Performed                           Hours   Amount
                                 Activity
12/15/23   D Kovsky-Apap         B320       Receive and review notice of cancellation of              0.1     84.00
                                            confirmation hearing
12/15/23   D Kovsky-Apap         B130       Correspondence with F. Lawall re de minimis asset         0.1     84.00
                                            sale notice
12/15/23   D Kovsky-Apap         B110       Correspondence with M. Molitor and T. Remington re        0.1     84.00
                                            new critical dates
12/15/23   F Lawall              B320       Multiple emails with D. Kovsky re new deadlines and       0.4    500.00
                                            miscellaneous sale issues
12/15/23   M Molitor             B160       Update TPHS 5th monthly fee application, email to T.      0.5    195.00
                                            Remington, F. Lawall, D. Kovsky-Apap, D. Fournier
                                            re same
12/15/23   M Molitor             B320       Review notice of rescheduled confirmation hearing,        0.1     39.00
                                            update case calendar per same
12/15/23   M Molitor             B320       Email exchange with D. Kovsky, T. Remington, F.           0.1     39.00
                                            Lawall re case calendar updates re confirmation
                                            hearing
12/15/23   M Molitor             B160       Confer with T. Remington re order granting TPHS 1st       0.1     39.00
                                            interim fee application, status of November fee
                                            application
12/15/23   M Molitor             B110       Review docket, recently filed pleadings, and update       0.5    195.00
                                            critical dates calendar
12/15/23   M Molitor             B155       Review agenda canceling 12.19 hearing, adjust case        0.2     78.00
                                            calendar per same
12/15/23   M Molitor             B110       Email to D. Kovsky-Apap, F. Lawall, S. McNally, D.        0.1     39.00
                                            Fournier, T. Remington, M. Willey. S. Henry, A. Sima,
                                            J. Kusch re current critical dates calendar
12/15/23   T Remington           B320       Review notice of rescheduled confirmation hearing         0.2    134.00


12/15/23   T Remington           B320       Review order approving Fiberdyne stipulation              0.2    134.00


12/15/23   T Remington           B160       Email M. Molitor re November fee application              0.1     67.00


12/15/23   T Remington           B160       Call with D. Kovsky re: November fee application          0.1     67.00
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Date       Tkpr                  Task       Description of Work Performed                           Hours   Amount
                                 Activity
12/15/23   T Remington           B160       Confer with M. Molitor re order granting TPHS 1st         0.1     67.00
                                            interim fee application, status of November fee
                                            application
12/15/23   T Remington           B130       Review 12.15 notice of miscellaneous sale                 0.3    201.00


12/15/23   T Remington           B155       Review 12.19 agenda                                       0.1     67.00


12/18/23   S Henry               B155       Prepare e-mail to T. Remington and A. Sima re             0.2     78.00
                                            hearing transcripts
12/18/23   D Kovsky-Apap         B320       Correspondence with F. Lawall and D. Turetsky re          0.2    168.00
                                            update on settlement discussions
12/18/23   D Kovsky-Apap         B320       Follow up with A. Haperin re ombudsman agreement          0.1     84.00


12/18/23   D Kovsky-Apap         B185       Correspondence with Huron team re debtors'                0.2    168.00
                                            executed addition contract rejection motion
12/18/23   D Kovsky-Apap         B185       Correspondence with RJ Szuba re revised                   0.2    168.00
                                            assumption order
12/18/23   D Kovsky-Apap         B320       Conference with F. Lawall re ombudsman agreement          0.1     84.00


12/18/23   F Lawall              B320       Emails re Ombudsmen agreement                             0.1    125.00


12/18/23   F Lawall              B320       Review current reserve issues, litigation status and      0.5    625.00
                                            potential plan objection
12/18/23   F Lawall              B320       Review revised plan supplement                            0.5    625.00


12/18/23   F Lawall              B185       Emails with Huron re assumption and cure motion           0.3    375.00
                                            additions
12/18/23   M Molitor             B160       Update TPHS fee and expense status chart, email           0.6    234.00
                                            exchanges with D. Kovsky-Apap, F. Lawall, D.
                                            Fournier, T. Remington, D. Tsitsis, A. Kroll re order
                                            approving 1st interim fee application, CNO re 4th
                                            monthly fee application
12/18/23   M Molitor             B160       Review order granting TPHS 1st interim fee                0.5    195.00
                                            application, updated by Court with Exhibit 1, perfect
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Date       Tkpr                  Task       Description of Work Performed                            Hours   Amount
                                 Activity
                                            email and 1st class mail service of same, prepare
                                            proof of service re same, email certificate of service
                                            to T. Remington
12/18/23   M Molitor             B170       Email to S. Henry re TPHS notice of 2024 rates,            0.1     39.00
                                            service data re same
12/18/23   M Molitor             B170       Email exchange with T. Remington re TPHS notice of         0.1     39.00
                                            rate-ranges for 2024
12/18/23   M Molitor             B110       Review invoices re 1st class service of pleadings of       0.1     39.00
                                            monthly fee application CNOs and Huron notice of
                                            hourly rate changes
12/18/23   T Remington           B170       Review and respond to email from M. Molitor re:            0.1     67.00
                                            notice of increase
12/18/23   T Remington           B110       Review WIP                                                 0.3    201.00


12/19/23   S Henry               B170       Prepare e-mail to M. Molitor re the notice of 2024         0.1     39.00
                                            hourly rate change
12/19/23   D Kovsky-Apap         B320       Correspondence with R. Loh re Huron team's revised         0.2    168.00
                                            analysis of anticipated waterfall
12/19/23   D Kovsky-Apap         B191       Email from D. Baddley requesting extension of SEC          0.1     84.00
                                            deadlines
12/19/23   D Kovsky-Apap         B191       Correspondence with debtors' counsel re SEC's              0.1     84.00
                                            extension requests
12/19/23   D Kovsky-Apap         B130       Receive and review order authorizing the sale of           0.1     84.00
                                            certain assets
12/19/23   D Kovsky-Apap         B211       Review monthly operating reports                           0.4    336.00


12/19/23   D Kovsky-Apap         B310       Receive and review Elaphe's withdrawal of its proof        0.1     84.00
                                            of claim
12/20/23   D Kovsky-Apap         B320       Telephone conference with F. Lawall and R.                 0.8    672.00
                                            Kampfner re SEC proposed settlement and impact
                                            on plan
12/20/23   D Kovsky-Apap         B320       Follow up call with F. Lawall re plan issues               0.2    168.00
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Date       Tkpr                  Task       Description of Work Performed                             Hours   Amount
                                 Activity
12/20/23   D Kovsky-Apap         B320       Analysis of amended waterfall with Huron team               0.5    420.00


12/20/23   D Kovsky-Apap         B320       Correspondence with debtors' counsel re UCC's               0.2    168.00
                                            analysis of waterfall
12/20/23   D Kovsky-Apap         B150       Draft agenda for committee meeting                          0.2    168.00


12/20/23   F Lawall              B320       Call with debtor and D. Kovsky re plan timing and           0.8   1,000.00
                                            SEC settlement issues
12/20/23   F Lawall              B320       Follow up call with D. Kovsky re plan issues                0.2    250.00


12/20/23   F Lawall              B320       Review revised plan document                                0.5    625.00


12/20/23   F Lawall              B230       Review reserve/litigation issues                            0.4    500.00


12/20/23   S McNally             B191       Receipt and review of SEC's third motion to extend          0.3    222.00
                                            non-dischargeability deadlines
12/20/23   M Molitor             B160       Email exchanges with D. Kovsky-Apap, C. Keene re            0.2     78.00
                                            order approving TPHS 1st interim fee application,
                                            CNO re October fee application
12/20/23   M Molitor             B160       Email exchange with T. Remington re certificate of          0.3    117.00
                                            service of order granting TPHS 1st interim fee
                                            application, finalize and file same, obtain as-filed
                                            pleading
12/20/23   M Molitor             B160       Email exchanges with T. Remington, D. Kovsky-               0.4    156.00
                                            Apap, F. Lawall, D. Fournier re TPHS November fee
                                            application, update application, notice and certificate
                                            of service
12/20/23   M Molitor             B110       Review docket and recently filed pleadings, entered         0.6    234.00
                                            orders, and update critical dates per same
12/20/23   M Molitor             B170       Email from S. Henry re TPHS notice of hourly rate           0.1     39.00
                                            changes
12/20/23   M Molitor             B170       Email exchanges with D. Kovsky-Apap, F. Lawall, D.          0.2     78.00
                                            Fournier, T. Remington re notice of TPHS change in
                                            hourly rates, and update notice and certificate of
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Date       Tkpr                  Task       Description of Work Performed                             Hours   Amount
                                 Activity
                                            service
12/20/23   M Molitor             B150       Email from D. Kovsy-Apap re agenda for 12.21 virtual        0.1     39.00
                                            Committee meeting
12/20/23   T Remington           B320       Further review revised plan and liquidation analysis        1.1    737.00
                                            ahead of objection deadline
12/20/23   T Remington           B170       Review notice of 2024 rates and email M. Molitor re         0.1     67.00
                                            same
12/20/23   T Remington           B165       Review and revise TPHS 5th fee application and              0.4    268.00
                                            email M. Molitor re same
12/21/23   D Kovsky-Apap         B150       Conduct Committee call                                      0.5    420.00


12/21/23   D Kovsky-Apap         B150       Telephone conference with F. Lawall in preparation          0.2    168.00
                                            for committee call
12/21/23   D Kovsky-Apap         B320       Respond to inquiry from creditor re status of plan          0.1     84.00
                                            confirmation
12/21/23   F Lawall              B185       Review rejection motion                                     0.3    375.00


12/21/23   F Lawall              B150       Telephone conference with D. Kovsky re preparation          0.2    250.00
                                            for committee call
12/21/23   F Lawall              B150       Call with committee re plan issues                          0.5    625.00


12/21/23   F Lawall              B320       Review plan revisions                                       0.4    500.00


12/21/23   M Molitor             B165       Email to T. Remington, R. Loh re 2.14 deadline to file      0.1     39.00
                                            2nd interim fee applications for Oct.-Nov. period
12/21/23   M Molitor             B165       Email exchanges with T. Remington, R. Loh re Huron          0.9    351.00
                                            November staffing and compensation report, update
                                            notice and application, prepare certificate of service,
                                            finalize, file and serve application
12/21/23   M Molitor             B165       Confer with T. Remington re Huron November fee              0.1     39.00
                                            application
12/21/23   M Molitor             B150       Attend virtual Committee meeting, review notes re           0.7    273.00
                                            plan issues, SEC settlement status, confirmation
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Date       Tkpr                  Task       Description of Work Performed                            Hours   Amount
                                 Activity
                                            timing, and negotiations re general unsecured claims
                                            reserve
12/21/23   M Molitor             B170       Email exchanges with D. Kovsky-Apap, F. Lawall, D.         0.6    234.00
                                            Fournier, T. Remington re notice of TPHS change in
                                            hourly rates, finalize, file and serve notice
12/21/23   M Molitor             B160       Email to D. Kovsky-Apap re TPHS November fee               0.1     39.00
                                            application
12/21/23   M Molitor             B160       Confer with T. Remington re 2nd interim fee                0.1     39.00
                                            application filing deadline
12/21/23   M Molitor             B110       Review recently filed pleadings, update critical dates     0.4    156.00
                                            calendar
12/21/23   M Molitor             B110       Revise 2002 service list                                   0.2     78.00


12/21/23   T Remington           B165       Review Huron 4th application and emails with R. Loh        0.2    134.00
                                            and L. Marcero re same
12/21/23   T Remington           B165       Emails with M. Molitor re: Huron 4th application           0.1     67.00


12/21/23   T Remington           B210       Review amended operating report                            0.2    134.00


12/21/23   T Remington           B165       Confer with M. Molitor re Huron November fee               0.1     67.00
                                            application
12/21/23   T Remington           B130       Review CoC re: order authorizing sale of certain           0.3    201.00
                                            assets
12/21/23   T Remington           B191       Email F. Lawall and D. Kovsky re: SEC's motion             0.1     67.00
                                            further extending deadline to file dischargeability
                                            action
12/21/23   T Remington           B191       Review SEC's motion further extending deadline to          0.3    201.00
                                            file dischargeability action
12/21/23   T Remington           B160       Confer with M. Molitor re 2nd interim fee application      0.1     67.00


12/22/23   S Henry               B160       Prepare e-mails to M. Molitor and TPHS team re             0.3    117.00
                                            Troutman fifth monthly fee application
12/22/23   D Kovsky-Apap         B191       Correspondence with R. Szuba re stipulation to             0.1     84.00
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Date       Tkpr                  Task       Description of Work Performed                            Hours    Amount
                                 Activity
                                            extend SEC deadline
12/22/23   D Kovsky-Apap         B191       Receive and review draft stipulation extending SEC          0.1     84.00
                                            deadline
12/22/23   D Kovsky-Apap         B320       Telephone conference with counsel for SEC re                0.2    168.00
                                            settlement discussions and confirmation hearing
12/22/23   D Kovsky-Apap         B320       Conference with counsel for debtors re SEC and plan         0.4    336.00
                                            confirmation issues
12/22/23   F Lawall              B113       Review multiple filings by debtor                           0.3    375.00


12/22/23   F Lawall              B320       Call with debtor re plan timing                             0.5    625.00


12/22/23   M Molitor             B160       Update TPHS November fee application, email to S.           0.3    117.00
                                            Henry re same
12/22/23   M Molitor             B160       Email exchanges with F. Lawall, T. Remington, D.            0.3    117.00
                                            Kovsky-Apap, D. Fournier, C. Keene re TPHS
                                            November fee application, receipt of payment
                                            pursuant to 1st interim fee order, CNO filed for
                                            October application
12/22/23   M Molitor             B110       Email exchanges with A. Smith re first class mail           0.2     78.00
                                            service of pleading
12/22/23   M Molitor             B150       Update 12.21 virtual Committee meeting minutes              0.5    195.00


12/22/23   T Remington           B191       Email D. Kovsky re: SEC motion                              0.1     67.00


12/22/23   T Remington           B165       Email D. Kovsky re: fifth fee application                   0.1     67.00


12/25/23   T Remington           B320       Begin drafting declaration of L. Marcero in support of      1.4    938.00
                                            plan objection
12/26/23   D Kovsky-Apap         B160       Correspondence with T. Remington and M. Molitor re          0.1     84.00
                                            monthly fee statement
12/26/23   D Kovsky-Apap         B320       Correspondence with T. Remington re plan objection          0.2    168.00
                                            and status of confirmation hearing
12/26/23   M Molitor             B160       Email exchanges with S. Henry, D. Kovsky-Apap re            0.2     78.00
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Date       Tkpr                  Task       Description of Work Performed                          Hours   Amount
                                 Activity
                                            TPHS November fee application
12/26/23   M Molitor             B160       Email exchanges with D. Kovsky-Apap, M. Mackey re        0.5    195.00
                                            TPHS 5th monthly fee application, invoice posting,
                                            LEDES file re same, update and finalize application
                                            for efiling
12/26/23   M Molitor             B160       File and perfect email and 1st class mail service of     0.4    156.00
                                            TPHS 5th monthly fee application, email to B.
                                            Hackman, C. Green re LEDES file with respect to
                                            same
12/26/23   M Molitor             B110       Review recently filed pleadings and update critical      0.4    156.00
                                            dates calendar per same, email to D. Kovsky-Apap,
                                            F. Lawall, T. Remington, S. Henry, D. Fournier, J.
                                            Kusch, A. Sima, M. Willey re same
12/26/23   M Molitor             B150       Update 12.21 virtual Committee meeting minutes,          0.4    156.00
                                            email to F. Lawall and D. Kovsky-Apap re same
12/26/23   T Remington           B320       Email D. Kovsky re: plan objection                       0.1     67.00


12/27/23   D Kovsky-Apap         B320       Telephone call with F. Lawall, D. Turetsky and D.        0.5    420.00
                                            Ninivaggi re confirmation issues
12/27/23   D Kovsky-Apap         B320       Conference with T. Remington re objection to             0.2    168.00
                                            confirmation
12/27/23   D Kovsky-Apap         B320       Telephone call with D. Turetsky re confirmation          0.3    252.00
                                            hearing issues
12/27/23   D Kovsky-Apap         B320       Correspondence with RJ Szuba re liquidation              0.1     84.00
                                            analysis for claims reserve
12/27/23   D Kovsky-Apap         B191       Telephone call with F. Lawall and D. Baddley re          0.4    336.00
                                            status of potential SEC settlement
12/27/23   F Lawall              B320       Email from debtor re retained causes of action           0.2    250.00
                                            revision
12/27/23   F Lawall              B191       Emails with internal team re SEC extension               0.2    250.00


12/27/23   F Lawall              B320       Multiple calls with internal team, Debtor and SEC re     2.0   2,500.00
                                            plan, timing and related issues
12/27/23   M Molitor             B160       Revise TPHS December fee application                     0.8    312.00
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Date       Tkpr                  Task       Description of Work Performed                          Hours   Amount
                                 Activity


12/27/23   M Molitor             B110       Update critical dates calendar                           0.2     78.00


12/27/23   M Molitor             B191       Review order approving SEC extended deadline re          0.1     39.00
                                            dischargeability
12/27/23   T Remington           B320       Conference D. Kovsky re objection to confirmation        0.2    134.00


12/28/23   D Kovsky-Apap         B191       Correspondence with RJ Szuba re COC and                  0.2    168.00
                                            stipulation to extend SEC deadline
12/28/23   D Kovsky-Apap         B320       Conference with F. Lawall re status of SEC               0.2    168.00
                                            settlement and confirmation hearing
12/28/23   D Kovsky-Apap         B130       Review order approving sale of miscellaneous assets      0.1     84.00


12/28/23   F Lawall              B191       Emails from debtor re SEC extension                      0.2    250.00


12/28/23   F Lawall              B320       Review plan timing with internal team                    0.3    375.00


12/28/23   F Lawall              B320       Call with SEC re plan issues                             0.5    625.00


12/28/23   F Lawall              B320       Call with Etkin re plan issues and timing                0.6    750.00


12/28/23   M Molitor             B150       Email from F. Lawall re case status, cancellation of     0.1     39.00
                                            12.28 virtual Committee meeting
12/28/23   M Molitor             B110       Update critical dates calendar                           0.2     78.00


12/29/23   D Kovsky-Apap         B320       Review revised schedule of retained causes of action     0.2    168.00


12/29/23   F Lawall              B320       Review U.S. Trustee plan objection                       0.3    375.00


12/29/23   F Lawall              B320       Review revisions to plan supplement/order and            1.0   1,250.00
                                            related documents
12/29/23   M Molitor             B310       Review order approving 2nd stipulation extending         0.1     39.00
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Date       Tkpr                  Task       Description of Work Performed                          Hours     Amount
                                 Activity
                                            SEC bar date for filing claims to 1.5.24
12/29/23   M Molitor             B110       Update critical dates calendar                             0.2     78.00


12/30/23   D Kovsky-Apap         B320       Work on draft objection to confirmation                    3.2   2,688.00


12/31/23   D Kovsky-Apap         B320       Review case law re section 1127 of the Bankruptcy          0.9    756.00
                                            Code
12/31/23   D Kovsky-Apap         B320       Correspondence with F. He re NHTSA's proposed              0.3    252.00
                                            revision to confirmation order
12/31/23   D Kovsky-Apap         B320       Conference with T. Remington re declaration for            0.2    168.00
                                            confirmation objection
12/31/23   D Kovsky-Apap         B320       Work on draft confirmation objection                       4.5   3,780.00


12/31/23   D Kovsky-Apap         B320       Draft email to Huron team re confirmation objection        0.4    336.00


12/31/23   D Kovsky-Apap         B191       Correspondence with J. Zakia re draft settlement           0.2    168.00
                                            offer to the SEC
12/31/23   D Kovsky-Apap         B191       Review draft settlement offer to the SEC                   0.4    336.00


12/31/23   D Kovsky-Apap         B320       Conference with F. Lawall re claims reserve                0.2    168.00


12/31/23   D Kovsky-Apap         B320       Conference with R. Loh and F. Lawall re revised            0.6    504.00
                                            liquidation analysis
12/31/23   D Kovsky-Apap         B320       Review revised liquidation analysis from Huron team        0.3    252.00


12/31/23   D Kovsky-Apap         B320       Correspondence with Huron team re updating                 0.2    168.00
                                            waterfall analysis
12/31/23   D Kovsky-Apap         B320       Review debtors' second modified first amended plan         0.8    672.00


12/31/23   F Lawall              B320       Call with Huron and D. Kovsky re exhibits and              0.6    750.00
                                            reserve liquidation
12/31/23   F Lawall              B320       Review exhibits for objection to plan                      0.4    500.00
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Date       Tkpr                  Task       Description of Work Performed                           Hours      Amount
                                 Activity


12/31/23   F Lawall              B320       Conference with D. Kovsky re claims reserve               0.2       250.00


12/31/23   T Remington           B320       Conference with D. Kovsky re declaration for              0.2       134.00
                                            confirmation objection
                                                                                           Total:   150.7 117,719.00



TIMEKEEPER TIME SUMMARY THROUGH 12/31/23

Name                                                                                   Rate         Hours      Amount
Fournier, David M                                                                   1250.00           0.1       125.00
Henry, Susan M                                                                       390.00           7.1      2,769.00
Kovsky-Apap, Deborah                                                                 840.00          48.9     41,076.00
Lawall, Francis J                                                                   1250.00          32.9     41,125.00
McNally, Sean P                                                                      740.00           0.3       222.00
Molitor, Monica A.                                                                   390.00          31.2     12,168.00
Remington, Tori L.                                                                   670.00          30.2     20,234.00



FOR COSTS AND EXPENSES INCURRED THROUGH 12/31/23

Description                                                                                                    Amount
Copy Charges                                                                                                      65.20
Search Costs                                                                                                      77.80
Transcript Cost                                                                                                   64.80
                                                                                           Total:               207.80


                                                                     Total Fees & Costs:                    $117,926.80
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TIME SUMMARY BY PHASE AND TASK THROUGH 12/31/23

                                                                                Hours       Amount
B100          ADMINISTRATION

              B110          Case Administration                                    7.0      3,162.00
              B112          General Creditor Inquiries                             1.1       687.00

              B113          Pleadings Review/Memos                                 2.0      1,486.00
              B130          Asset Disposition                                      2.1      1,515.00
              B150          Meetings of and Communications with Creditors          6.1      4,511.00

              B155          Court Hearings                                         2.1      1,386.00

              B160          Fee/Employment Applications                           17.8      7,931.00

              B165          Fees Applications and Invoices - Others                5.7      2,989.00

              B170          Fee/Employment Objections                              2.5      1,031.00

              B175          Employment and Retention Applications - Others         1.8       898.00
              B185          Assumption/Rejection of Leases and Contracts           3.6      3,485.00
              B190          Other Contested Matters                                7.2      4,176.00

              B191          General Litigation                                     4.4      3,576.00
                                                                   Total B100     63.4     36,833.00
B200          OPERATIONS

              B210          Business Operations                                    0.2       134.00
              B211          Financial Reports                                      0.4       336.00

              B230          Financing/Cash Collections                             0.4       500.00
                                                                   Total B200      1.0       970.00
B300          CLAIMS AND PLAN

              B310          Claims Administration and Objections                   3.7      3,486.00

              B320          Plan and Disclosure Statement                         82.6     76,430.00
                                                                   Total B300     86.3     79,916.00
